 Case 1:17-cv-00654-GJQ-PJG ECF No. 39 filed 11/27/17 PageID.438 Page 1 of 2




                          UNITED STATES DISTRICT COURT FOR
                          THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

Eric C. Grimm,

                   Plaintiff,                       Civil Action No. 1:17-cv-654
vs.

Raw Story Media, Inc., The Herald Publishing        Hon. Gordon J. Quist
Company, LLC, MLive Media Group, f/k/a              United States District Judge
Booth Newspapers, Inc., Newslo, Stephen
Kloosterman, Kevin Even, Paul Shibley,              Hon. Phillip J. Green
Brianna Scott, David Bossenbroek, Matt J.           United States Magistrate Judge
Roberts, David Shafer, Barton Dieters,
Gregory C. Pittman, Williams Hughes, PLLC,
Douglas Hughes, Theodore N. Williams, Jr,
Timothy Hicks, William Marietti, Kathy              BRIEF IN SUPPORT OF DEFENDANT
Hoogstra, Robert Carter, Raymond Kostrzewa,         KEVIN EVEN’S MOTION TO DISMISS
Linnea Kostrzewa, Mark T. Boonstra, Neil            PURSUANT TO FED. R. CIV. P. 12(b)(6)
Mullally, Vicki Broge, and the County of
Muskegon,

                   Defendants.

Eric C. Grimm (P58990)                            Allan C. Vander Laan
ERIC C. GRIMM, PLLC                               Cummings McClorey Davis & Acho PLC
Attorney for Plaintiff                            Attorneys for Defendants Matt J. Roberts, Gregory
1017 West South Street                               C. Pittman, Timothy Hicks, William Marietti,
Alvin, TX 77511                                      Kathy Hoogstra, Raymond Kostrzewa, Neil
Main: (734) 717-4900                                 Mullally, and the County of Muskegon
Email: ecgrimm@umich.edu                          327 Centennial Plaza Bldg.
                                                  2851 Charlevoix Dr., SE
                                                  Grand Rapids, MI 49546
James S. Brady                                    (616) 975-7470
Mark John Magyar                                  Email: avanderlaan@cmda-law.com
Dykema Gossett PLLC (Grand Rapids)
Attorneys for Defendants The Herald Publishing    Gregory N. Longworth
   Company, LLC, MLive Media Group, formerly      Steven F. Stapleton
   known as Booth Newspapers, Inc., and Stephen   Clark Hill PLC
   Kloosterman                                    Attorneys for Defendants Williams Hughes, PLLC,
300 Ottawa Ave NW, Suite 700                         and Douglas Hughes
Grand Rapids, MI 49503                            200 Ottawa Ave., NW, Ste. 500
(616) 776-7550                                    Grand Rapids, MI 49503
Email: jbrady@dykema.com                          (616) 608-1100
Email: mmagyar@dykema.com                         Email: glongworth@clarkhill.com
                                                  Email: sstapleton@clarkhill.com
 Case 1:17-cv-00654-GJQ-PJG ECF No. 39 filed 11/27/17 PageID.439 Page 2 of 2




                                                       Paul A. McCarthy (P47212)
                                                       Rhoades McKee PC
                                                       Attorney for Defendant Kevin Even
                                                       55 Campau Avenue NW, Suite 300
                                                       Grand Rapids, MI 49503
                                                       (616) 235-3500
                                                       Email: mccarthy@rhoadesmckee.com


       BRIEF IN SUPPORT OF DEFENDANT KEVIN EVEN’S MOTION TO DISMISS
                      PURSUANT TO FED. R. CIV. P. 12(b)(6)

            Defendant, Kevin Even, moves to dismiss Plaintiff’s claims against him pursuant to Fed.

R. Civ. P. 12(b)(6), and hereby adopts by reference the briefing filed on October 17, 2017 by

similarly situated Defendants Hicks, Hoogstra, Kostrzewa, Marietti, Mullally, Muskegon

County, Pittman, and Roberts; the briefing filed on November 2, 2017 by Defendants

Kloosterman, MLive Media Group, and The Herald Publishing Company, LLC; and the briefing

filed on November 6, 2017 by Defendants Hughes and Williams Hughes, PLLC. Like various of

the other Defendants, while Plaintiff’s First Amended Complaint makes passing reference to

Kevin Even, Plaintiff fails to state a claim upon which relief can be granted. Accordingly, Kevin

Even respectfully requests that the Court dismiss Plaintiff’s claims against him with prejudice for

the reasons already articulated by the similarly situated Defendants.

                                                         Respectfully Submitted,

                                                         RHOADES McKEE PC
                                                         Attorneys for Defendant Kevin Even
Dated: November 27, 2017
                                                         By: /s/ Paul A. McCarthy
                                                            Paul A. McCarthy (P47212)
                                                             55 Campau Avenue NW, Suite 300
                                                             Grand Rapids, MI 49503
                                                             (616) 235-3500




1108703_1                                          2
